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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:12-CR-132 (04)

 v.                                                          HON. ROBERT HOLMES BELL

 NICHOLAS BERNAL,

             Defendant.
 ____________________________________/


                            MEMORANDUM OPINION AND ORDER

        Defendant Nicholas Bernal has filed a motion for modification or reduction of sentence (ECF

 No. 1387) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

 Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        The Probation Department filed a sentence modification report on January 14, 2016 (ECF

 No. 1619). In its report, the probation department recommended the defendant is eligible for

 reduction in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the

 guideline calculations, and the guideline range applicable to the defendant subsequently has been
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 lowered as a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction

 of sentence is consistent with the policy statements of the U.S. Sentencing Commission.

        Counsel for the government and defendant both filed responses to the Sentence Modification

 Report concurring with the probation department’s assessment.

        NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

 of sentence (ECF No. 1387) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant Nicholas

 Bernal's sentence shall be reduced to 210 months. An order effectuating the sentence reduction shall

 issue forthwith.




 Dated: February 26, 2016                         /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
